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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

________________________________________________
                                                )
ANTHONY HAYES,                                  )
         Plaintiff,                             )
                                                )
                                                )
v.                                              )                                       CIVIL ACTION
                                                )                                       NO. 10-40095-TSH
                                                )
P.O. DARNELL MCGEE,                             )
P.O. JAMES O’ROURKE,                            )
SGT. KENNETH DAVENPORT,                         )
LT. TIMOTHY O’CONNOR,                           )
GARY J. GEMME, Chief of Police,                 )
MICHAEL V. O’BRIEN, City Manager, and           )
THE CITY OF WORCESTER,                          )
            Defendants.                         )
________________________________________________)


         FINAL ORDER ON DEFENDANTS’ MOTION TO SEAL AND IMPOUND
                     DOCUMENTS 42 AND 47 (Docket No. 49)
                              August 23, 2012


HILLMAN, D.J.
                                                   Discussion

        On August 3, 2012, I entered an interim Order on Defendants’ Motion To Seal And

Impound Documents 42 and 47,1 in which I ordered that the parties consult to determine whether

they could agree as to whether any information contained in those documents should be

designated “confidential information”. See Order on Defendants’ Motion To Seal And Impound

Documents 42 and 47 (Docket No. 49) (Docket No. 54)(“Interim Order”). I further Ordered that

on or before August 20, 2012, either the Plaintiff file amended versions of Docket Nos. 42 and


1
  Documents No. 42 and 47 were submissions filed by the Plaintiff, Anthony Hayes, in connection with his
opposition to Defendants’ motion to quash the deposition subpoena of Lt. Jane McGrath and his objection to this
Court’s allowance of that motion.
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47 in which any designated “confidential information” be redacted, or the parties jointly inform

the Court in writing that no agreement has been reached. The parties have failed to comply with

that Order. Furthermore, neither party has sought leave from the Court for additional time to

comply. Therefore, the Defendants’ motion to seal and impound is ripe for ruling.

       I have set forth the applicable legal precedent in the Interim Order. Under the

circumstances, I find that the Defendants have failed to satisfy their burden of establishing that

Documents No. 42 and 47 contain confidential information subject to the parties’ protective

order. Therefore, the documents shall be unsealed.

                                           Conclusion

       For the foregoing reasons, the Defendants’ Motion To Seal and Impound Documents 42

and 47 (Docket No. 49) is denied and the Clerk is directed to unseal Docket Nos. 42 and 47.



                                                     /s/ Timothy S. Hillman_________
                                                     TIMOTHY S. HILLMAN
                                                     DISTRICT JUDGE




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